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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
THOMAS STALLWORTH, ET AL

       VS                                                 CASE NO.   3:06cv89 MCR/EMT

THE HARTFORD INSURANCE COMPANY,
ET AL

                                    REFERRAL AND ORDER

Referred to Magistrate Judge Timothy on April 14, 2006
Type of Motion/Pleading: MOTION FOR AN ENLARGEMENT OF TIME TO RESPOND
TO COMPLAINT (up through and including April 27, 2006)
Filed by: Defendants             on 4/14/06      Document 4
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc.#
                                 on              Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ Lynn C. Uhl
                                               Deputy Clerk: Lynn Uhl

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 17th                    day of
April, 2006, that:
(a)    The requested relief is GRANTED.
(b)




                                               /s/ Elizabeth M. Timothy
                                               ELIZABETH M. TIMOTHY
                                               UNITED STATES MAGISTRATE JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
